                  Case 3:21-cr-00132-SI Document 83 Filed 11/18/22 Page 1 of 2




 1 STEPHANIE M. HINDS (CABN 154284)
   United States Attorney
                                                                              FILED
 2
                                                                                Nov 18 2022
 3

 4                                                                         Mark B. Busby
                                                                     CLERK, U.S. DISTRICT COURT
 5                                                                NORTHERN DISTRICT OF CALIFORNIA
 6                                                                        SAN FRANCISCO

 7

 8                                    UNITED STATES DISTRICT COURT

 9                                  NORTHERN DISTRICT OF CALIFORNIA

10                                         SAN FRANCISCO DIVISION

11   UNITED STATES OF AMERICA,                         )   CASE NO. 3:21-CR-00132-SI
                                                       )
12           Plaintiff,                                )
                                                       )   VIOLATION:
13      v.                                             )   21 U.S.C. §§ 331(c), 333(a)(1) – Receipt in interstate
                                                       )   commerce of a drug or device that is adulterated or
14   LINDSAY MARIE CLARK,                              )   misbranded, and the delivery or proffered delivery
                                                       )   thereof for pay or otherwise
15           Defendant.                                )
                                                       )   SAN FRANCISCO
16                                                     )

17

18                                SUPERSEDINGINFORMATION
19 The United States Attorney charges:

20
     COUNT ONE:             (21 U.S.C. §§ 331(c), 333(a)(1) – Receipt in interstate commerce of drugs that are
21                          misbranded, and devices that are misbranded and adulterated, and the delivery or
                            proffered delivery thereof for pay or otherwise)
22

23           1.      From at least in or around April 2016, and continuing to at least in or around June 2020,
24 in the Northern District of California, the defendant,

25
                                            LINDSAY MARIE CLARK
26

27 received and caused the receipt of drugs (injectable botulinum toxin) and devices (injectable hyaluronic

28 acid dermal fillers) in interstate commerce, from foreign countries including the United Kingdom, to San


     SUPERSEDING INFORMATION                          1
               Case 3:21-cr-00132-SI Document 83 Filed 11/18/22 Page 2 of 2




 1 Mateo, California, which drugs and devices were misbranded as described in 21 U.S.C. §§ 352(a),

 2 352(f)(1), and 353(b)(4)(A), and adulterated as defined in 21 U.S.C. § 351(f)(1), and delivered and

 3 proffered for delivery these adulterated and misbranded drugs and devices for pay and otherwise, all in

 4 violation of 21 U.S.C. §§ 331(c), 333(a)(1), and 18 U.S.C. § 2.

 5

 6

 7 DATED: _November 18, 2022______                      STEPHANIE M. HINDS
                                                        United States Attorney
 8

 9                                                      /s/ Joseph Tartakovsky
                                                        JOSEPH TARTAKOVSKY
10                                                      KAITLIN PAULSON
                                                        Assistant United States Attorneys
11

12
                                                        AMANDA N. LISKAMM
13                                                      Acting Director
                                                        Consumer Protection Branch
14

15
                                                        /s/ Rachael L. Doud
                                                        RACHAEL L. DOUD
                                                                       .




16
                                                        Trial Attorney
17                                                      Consumer Protection Branch
18
19

20

21

22

23

24

25

26

27

28


     SUPERSEDING INFORMATION                        2
